Case 1:10-cv-06950-AT-RWL Document 1376-5 Filed 09/22/22 Page 1 of 6
Case 1:10-cv-06950-AT-RWL Document 1376-5 Filed 09/22/22 Page 2 of 6
Case 1:10-cv-06950-AT-RWL Document 1376-5 Filed 09/22/22 Page 3 of 6
 Case 1:10-cv-06950-AT-RWL Document 1376-5 Filed 09/22/22 Page 4 of 6




                                                                Extended
                                        Vice President
                                                                Managing
                                                                Director
Extended
                    Extended
Managing Director
                    Managing Director




Vice President
Case 1:10-cv-06950-AT-RWL Document 1376-5 Filed 09/22/22 Page 5 of 6




           Vice President                            Extended Managing Director
Case 1:10-cv-06950-AT-RWL Document 1376-5 Filed 09/22/22 Page 6 of 6
